
80 So. 3d 449 (2012)
Thomas MARTIN, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5842.
District Court of Appeal of Florida, First District.
February 23, 2012.
Thomas Martin, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on or about April 14, 2011, in Duval County Circuit Court case number 16-2006-CF-17700, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal *450 for treatment as a notice of appeal. If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal is directed to appoint counsel to represent him in the belated appeal authorized by this opinion.
VAN NORTWICK, LEWIS, and SWANSON, JJ., concur.
